9 F.3d 1544
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Elliott PRICE, Sr., Plaintiff-Appellant,v.John WILLIAMS;  Harold Pearsons, Defendants-Appellees,andCharles M. Creecy;  Nathan Rice;  William Carroll, Defendants.
    No. 92-7176.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 21, 1993.Decided:  November 10, 1993.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.
      James Elliott Price, Sr., Appellant Pro Se.
      Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER and WILLIAMS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      James Elliott Price, Sr., appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Price v. Williams, No. CA-91-737 (E.D.N.C. Sept. 24, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    